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                                     EXHIBIT A

                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 TIMOTHY O'NEIL,

              Plaintiff,                            CIVIL ACTION FILE
V.                                                  NO.: 1:21-CV-04173-AT-CCB

SHERIFF VICTOR HILL,

              Defendant.


                     DECLARATION OF JASON MARTIN
                      UNDER PENALTY OF PERJURY

                                    1.
      My name is Jason Martin. I am over the age of eighteen (18) years and am

suffering under no legal disability that would prevent me from providing this

declaration made pursuant to 28 U.S.C. § 1746. I make this declaration having personal

knowledge of the facts stated herein, and with the understanding that it will be used in

the above-styled action.

                                          2.

      I currently hold the title of Major at the Clayton County Sheriffs Office.




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                                          3.

      I serve as the Jail Commander at the Clayton County Jail ("CCJ"). In such

capacity I am well versed in all things related to the Grievance Procedure.

                                          4.

      In my capacity as Jail Commander, I also have access to all inmate files.

                                          5.

      The CCJ has formal procedures in place for confined persons to file grievances

when they feel it is necessary to do so. A true and correct copy of the relevant portions

of Clayton County Sheriffs Office Standard Operating Procedures was previously

submitted concurrently with defendant's motion to dismiss. (Docs. 4-6.) These

Procedures apply to both pretrial detainees and inmates at the CCJ.

                                          6.

      Detainees and inmates at the CCJ are informed and educated about the

Grievance SOP during orientation. Moreover, CCJ staff are always available to answer

questions regarding the Grievance SOP.

                                          7.

      Detainees and inmates are informed during orientation that, in lieu of paper

Grievance Forms and Collection as described under subparagraphs 1 and 2 of the



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Grievance SOP, they are required to use the Kiosk system to electronically submit

grievances.

                                          8.

      These kiosks are located in every housing unit throughout the CCJ.

                                         9.

      When an inmate approaches a kiosk, they are prompted to enter their login

credentials which requires his/her inmate identification number and a security pin.

                                          10.

      Following a successful login, the inmate is redirected to a main menu, which

provides simple selections for their needs and requests. Those selections include

medical requests, the general request system, the grievance system, and a copy of the

inmate handbook.

                                          11.

      Upon selecting an option, an inmate must simply fill out the designated fields.

                                          12.

      For example, if an inmate elects the "Request System" tab from the home

page, they will be re-directed to a request form, which they must simply fill out and

then electronically submit.



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